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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

CAMDEN DIVISION
THE HOMESOURCE, CORP., Civil Action No.:l 718-cv~11970-JBS-KMW
Plaintiff, Hon. Jerome B. Simandle
v. Hon. Karen M. Williams

RETAILER WEB SERVICES, LLC,

Defendant.

 

 

DISCOVERY CONFIDENTIALITY ORDER

It appearing that discovery in the above-captioned action is likely to involve the disclosure
of confidential information, it is ORDERED as follows:

1. Any party to this litigation and any third-party shall have the right to designate as
“Confidential” and subject to this Order any information, document, or thing, or portion of any
document or thing: {a) that contains trade secrets, competitively sensitive technical, marketing,
financial, sales or other confidential business information, or (b) that contains private or
confidential personal information, or (c) that contains information received in confidence from
third parties, or (d) which the producing party otherwise believes in good faith to be entitled to
protection under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure and Loca! Civil Rule
5.3. Any party to this litigation or any third party covered by this Order, who produces or discloses
any Confidential material, including without limitation any information, document, thing,
interrogatory answer, admission, pleading, or testimony, shall mark the same with the foregoing

or similar legend: “CONFIDENTIAL” or “CONFIDENTIAL — SUBJECT TO DISCOVERY

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CONFIDENTIALITY ORDER” (hereinafter “Confidential”).

2. Any party to this litigation and any third-party shall have the right to designate as
“Attorneys’ Eyes Only” and subject to this Order any information, document, or thing, or portion
of any document or thing that contains highly sensitive business or personal information, the
disclosure of which is highly likely to cause significant harm to an individual or to the business or
competitive position of the designating party. Any party to this litigation or any third party who is
covered by this Order, who produces or discloses any Attorneys’ Eyes Only material, including
without limitation any information, document, thing, interrogatory answer, admission, pleading,
or testimony, shail mark the same with the foregoing or similar legend: “ATTORNEYS’ EYES
ONLY” or “ATTORNEYS’ EYES ONLY — SUBJECT TO DISCOVERY CONFIDENTIALITY
ORDER” (hereinafter “Attorneys” Eyes Only”).

3. All Confidential and Attorney’s Eyes Only material shall be used by the receiving
party solely for purposes of the prosecution or defense of this action, shall not be used by the
receiving party for any business, commercial, competitive, personal or other purpose. All
Confidential material shall not be disclosed by the receiving party to anyone other than those set
forth in Paragraph 4, unless and until the restrictions herein are removed either by written
agreement of counsel for the parties, or by Order of the Court. Similarly, all Attorney’s Eyes Only
material shali not be disclosed by the receiving party to anyone other than those set forth in
Paragraph 6, unless and until the restrictions herein are removed either by written agreement of
counsel for the parties, or by Order of the Court. It is, however, understood that counsel for a party
may give advice and opinions to his or her client solely relating to the above-captioned action

based on his or her evaluation of Confidential or Attorney’s Eyes Only material, provided that

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such advice and opinions shall not reveal the content of such Confidential or Attorney’s Eyes Only
material except by prior written agreement of counsel for the parties, or by Order of the Court.
4, Confidential material and the contents of Confidential material may be disclosed
only to the following individuals, under the following conditions:
a. Outside counsel (herein defined as any attorney at the parties’ outside law
firms) and relevant in-house counsel for the parties;
b. Outside experts or consultants retained by outside counsel for purposes of this
action, provided they have signed a non-disclosure agreement in the form
attached hereto as Exhibit A;
c. Secretarial, paralegal, clerical, duplicating and data processing personnel of the
foregoing;
d. The Court and court personnel, and mediators in agreed-upon or court ordered
mediation;
e. Any deponent may be shown or examined on any information, document or
thing designated Confidential if it appears that the witness authored or received
a copy of it, was involved in the subject matter described therein or is employed
by the party who produced the information, document or thing, or if the
producing party consents to such disclosure;
f. Vendors retained by or for the parties to assist in preparing for pretrial
discovery, trial and/or hearings including, but not limited to, court reporters,
litigation support personnel, jury consultants, individuals to prepare

demonstrative and audiovisual aids for use in the courtroom or in depositions

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or mock jury sessions, as well as their staff, stenographic, and clerical
employees whose duties and responsibilities require access to such materials;
and

g. The parties. In the case of parties that are corporations or other business entities,
“party” shall mean executives who are required to participate in decisions with
reference to this lawsuit.

5. Confidential material shall be used only by individuals permitted access to it under
Paragraph 4. Confidential material, copies thereof, and the information contained therein, shall not
be disclosed in any manner to any other individual, until and unless (a) outside counsel for the
party asserting confidentiality waives the claim of confidentiality, or (b) the Court orders such
disclosure.

6. Materials designated Attorney’s Eyes Only and the contents thereof may be
disclosed only to the following individuals, under the following conditions:

a, Qutside counsel for the receiving party, and secretarial, paralegal, and clerical
personnel at their law firms, and duplicating and data processing personnel,
provided that they are contemporaneously also provided with a copy of this
agreement;

b. Professional vendors that provide litigation support services (e.g.,
photocopying, videotaping, translating, preparing exhibits or demonstrations,
and organizing, storing, or retrieving data in any form or medium) and their
employees and subcontractors, provided that they are not affiliated with, and

have no personal relationship with, the parties to this litigation;

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c. To any deponent, provided, however, that a deponent may be shown or
examined on any information, document or thing designated Attorney’s Eyes
Only only if it appears that the witness authored or received a copy of it, or if
the producing party consents to disclosure;

d. To an expert witness retained by the receiving party for the purpose of this
litigation, provided that the receiving party provides the producing party with
at least ten (10) days advance notice of the expert witness (providing the
expert’s name and title), and the producing party does not object to that expert
witness on the grounds that the expert witness appears to have a relationship
with the receiving party (not including any contractual relationships related to
advising or testifying on any matter related to this lawsuit}, or is a direct
competitor of the producing party;

e. To such other persons as counsel for the producing party agrees in advance or
as Ordered by the Court; and

f. The Court and court personnel, court reporters, stenographers and
videographers.

7. With respect to any depositions that involve a disclosure of Confidential or
Attorney’s Eyes Only material of a party to this action, such party shall have until thirty (30) days
after receipt of the deposition transcript within which to inform all other parties that portions of
the transcript are to be designated Confidential or Attorney’s Eyes Only, which period may be
extended by agreement of the parties. With regard to transcripts designated as Confidential, no

such deposition transcript shall be disclosed to any individual other than the individuals described

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in Paragraph 4(a), (b), (c), (d) and (f) above and the deponent during these thirty (30) days, and no
individual attending such a deposition shall disclose the contents of the deposition to any
individual other than those described in Paragraph 4(a), (b), (c), (d) and (f) above during said thirty
(30) days. With regard to transcripts designated as Attorney’s Eyes Only, no such deposition
transcript shall be disclosed except on the conditions described in Paragraph 6 during these thirty
(30) days, and no individual attending such a deposition shal! disclose the contents of that
deposition to any individual except on the conditions described in Paragraph 6 during said thirty
(30) days. Upon being informed that certain portions of a deposition are to be designated as
Confidential or Attorney’s Eyes Only, all parties shall immediately cause each copy of the
transcript in its custody or control to be appropriately marked and limit disclosure of that transcript
in accordance with Paragraphs 3, 4, and 6.

8. If counsel for a party receiving documents or information designated as
Confidential or Attorneys’ Eyes Only hereunder objects to such designation of any or all of such
items, the following procedure shall apply:

a. Counsel for the objecting party shall serve on the designating party or third
party a written objection to such designation, which shall describe with
particularity the documents or information in question and shall state the
grounds for objection. Counsel for the designating party or third party shall
respond in writing to such objection within 14 days, and shall state with
particularity the grounds for asserting that the document or information is
Confidential or Attorneys’ Eyes Only. If no timely written response is made to

the objection, the challenged designation will be deemed to be void. If the

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designating party or nonparty makes a timely response to such objection
asserting the propriety of the designation, counsel shall then confer in good faith
in an effort to resolve the dispute.

b. If a dispute as to a Confidential or Attorneys’ Eyes Only designation of a
document or item of information cannot be resolved by agreement, the
proponent of the designation being challenged shall present the dispute to the
Court initially by telephone or letter, in accordance with Local Civil Rule
37.1(a)(1), before filing a formal motion for an order regarding the challenged
designation. The document or information that is the subject of the filing shall
be treated as originally designated pending resolution of the dispute.

9. In the event any party desires to change the designation of any material that is
produced from no designation to Confidential or Attorney’s Eyes Only, or from one such
designation to another, such party may do so by notice in writing specifically identifying the
material and furnishing a copy of such material with the new designation. In such event, the
receiving party shall thereafter treat such information with the new designation pursuant to this
Discovery Confidentiality Order, as well as undertake a good faith effort to correct any treatment
of the information inconsistent with the new designation.

10. All requests to seal documents filed with the Court shall comply with Local Civil
Rule 5.3.

11. ‘If the need arises during trial or at any Hearing before the Court for any party tc
disclose Confidential or Attorneys’ Eyes Only information, it may do so only after giving notice

to the producing party and as directed by the Court.

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12. To the extent consistent with applicable law, the inadvertent or unintentional
disclosure of Confidential or Attorney’s Eyes Only material that should have been designated as
such, regardless of whether the information, document or thing was so designated at the time of
disclosure, shall not be deemed a waiver in whole or in part of a party’s claim of confidentiality,
either as to the specific information, document or thing disclosed or as to any other material or
information concerning the same or related subject matter. Such inadvertent or unintentional
disclosure may be rectified by notifying in writing counsel for all parties to whom the material
was disclosed that the material should have been designated Confidential or Attorney’s Eyes Only
within a reasonable time after disclosure. Such notice shall constitute a designation of the
information, document or thing as Confidential or Attorney’s Eyes Only under this Discovery
Confidentiality Order.

13, When the inadvertent or mistaken disclosure of any information, document or thing
protected by privilege or work-product immunity is discovered by the producing party and brought
to the attention of the receiving party, the receiving party’s treatment of such material shall be in
accordance with Federal Rule of Civil Procedure 26(b)(5)(B). Such inadvertent or mistaken
disclosure of such information, document or thing shall not by itself constitute a waiver by the
producing party of any claims of privilege or work-product immunity. However, nothing herein
restricts the right of the receiving party to challenge the producing party’s claim of privilege if
appropriate within a reasonable time after receiving notice of the inadvertent or mistaken
disclosure.

14. No information that is in the public domain or which is already known by the

receiving party through proper means or which is or becomes available to a party from a source

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other than the party asserting confidentiality, rightfully in possession of such information on a non-
confidential basis, shall be deemed or considered to be Confidential material under this Discovery
Confidentiality Order.

15. This Discovery Confidentiality Order shall not deprive any party of its right to
object to discovery by any other party or on any otherwise permitted ground. This Discovery
Confidentiality Order is being entered without prejudice to the right of any party to move the Court
for modification or for relief from any of its terms.

16. This Discovery Confidentiality Order shall survive the termination of this action
and shall remain in full force and effect unless modified by an Order of this Court or by the written
stipulation of the parties filed with the Court.

17. Upon final conclusion of this litigation, each party or other individual subject to the
terms hereof shall be under an obligation to assemble and to return to the originating source all
originals and unmarked copies of documents and things containing Confidential and Attorney’s
Eyes Only material and to destroy, should such source so request, all copies of Confidential and
Attorney’s Eyes Only material that contain and/or constitute attorney work product as well as
excerpts, summaries and digests revealing Confidential and Attorney’s Eyes Only material;
provided, however, that counsel of record may retain complete copies of all transcripts and
pleadings including any exhibits attached thereto for archival purposes, subject to the provisions
of this Discovery Confidentiality Order. To the extent a party requests the return of Confidential
or Attorney’s Eyes Only material from the Court after the final conclusion of the litigation,
including the exhaustion of all appeals therefrom and all related proceedings, the party shall file a

motion seeking such relief.

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SO ORDERED this_/2 day of October, 2018.

Dated this 11th day of October, 2018.

/s/ Alexis Arena

Alexis Arena, Esq.

Eric R, Clendening, Esq.
FLASTER/GREENBERG P.C.
1810 Chapel Avenue West
Cherry Hill, NJ 08002

Tel.: (856) 661-1900

Fax: (856) 661-1919

Counsel for Plaintiff The HomeSource, Corp.

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KAREN M. WILLIAMS

UNITED STATES MAGISTRATE JUDGE

Dated this 1 1th day of October, 2018.

/s/ Matthew A, Lipman
Matthew A. Lipman, Esq.

Monica T. Holland, Esq.

MCELROY, DEUTSCH, MULVANEY &
CARPENTER, LLP

1617 John F. Kennedy Boulevard, Suite 1500
Philadelphia, PA 19103

Tel.: (215) 557-2900
mlipman@mdmc-law.com
mholland@mdme-law.com

Adam Wolek (pro hac vice)

TAFT STETTINIUS & HOLLISTER LLP
111 E. Wacker Drive, Suite 2800

Chicago, IL 60601

Tel.: (312) 836-4063

Fax: (312) 966-8598

awolek@taftlaw.com

Counsel for Defendant Retailer Web Services,
LLC
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EXHIBIT A

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

CAMDEN DIVISION
THE HOMESOURCE, CORP., Civil Action No.: 1:18-cv-11970-JBS-KMW
Plaintiff, Hon. Jerome B. Simandle
Vv. Hon. Karen M. Williams

RETAILER WEB SERVICES, LLC,

Defendant.

 

 

I, , being duly sworn, state that:

1. My address is

 

2. My present employer is and the address of my

present employment is

 

3. My present occupation or job description is

 

4, I have carefully read and understood the provisions of the Discovery
Confidentiality Order in this case signed by the Court, and I will comply with al! provisions of the

Discovery Confidentiality Order.

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5. I will hold in confidence and not disclose to anyone not qualified under the
Discovery Confidentiality Order any Confidential Material or any words, summaries, abstracts, or
indices of Confidential Information disclosed to me.

6. 1 will limit use of Confidential Material disclosed to me solely for purpose of this
action.

7. No later than the final conclusion of the case, I will return all Confidential Material
and summaries, abstracts, and indices thereof which come into my possession, and documents or
things which I have prepared relating thereto, to counsel for the party for whom I was employed
or retained.

I declare under penalty of perjury that the foregoing is true and correct.

 

 

Dated Name

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